 Case 1:18-mc-00024-MLH Document 8 Filed 08/08/18 Page 1 of 3 PageID #: 105



                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                            ALEXANDRIA DIVISION


COMMONWEALTH OF PENNSYLVANIA                       CIVIL ACTION NO. 1:18-mc-0024

VERSUS                                             MAGISTRATE JUDGE HORNSBY

THINK FINANCE, INC., ET AL


                              MEMORANDUM ORDER

       The Attorney General of Pennsylvania filed a federal lawsuit against Think Finance,

Inc. (“Think Finance”) and others alleging that Defendants illegally solicit, arrange, fund,

purchase, service, and/or collect loans and cash advances to Pennsylvania citizens over the

internet. Plaintiff alleges that the loans and cash advances charge usurious interest rates

and constitute predatory consumer lending practices.         Plaintiff’s Second Amended

Complaint, ¶ 1.

       Plaintiff alleges that Defendants use affiliations with Native American tribes to

evade licensure, usury, and consumer protection laws. Plaintiff alleges that Defendants

disguise themselves as mere service providers for the lending and collection scheme in

order to cloak their business activity with whatever protections from state law the tribes

might enjoy. Id. ¶ 2.

       Think Finance recently served a Rule 45 deposition subpoena on MobiLoans, LLC

(“MobiLoans”), a wholly-owned entity of the Tunica-Biloxi Tribe of Louisiana (the

“Tribe”) for a deposition to be held in this district. In response, MobiLoans filed a Motion

to Quash Subpoena (Doc. 1) which is now before the court. MobiLoans argues that, as a
    Case 1:18-mc-00024-MLH Document 8 Filed 08/08/18 Page 2 of 3 PageID #: 106



federally recognized Indian tribe, it possesses sovereign immunity from suit.          This

sovereign immunity, MobiLoan argues, applies not only to the tribes themselves, but also

to tribal arms, enterprises, and entities, such as MobiLoans. Finally, MobiLoans argues

that sovereign immunity extends to all aspects of the judicial process, including the third-

party subpoena served by Think Finance.

        The documents attached to the motion to quash show that the Tribe invested

MobiLoans with all of the privileges and immunities of the Tribe, including, without

limitation, immunity from suit by any person or entity in any form.

        Think Finance does not dispute that MobiLoans is a wholly-owned entity of the

Tribe and that the Tribe invested MobiLoans with all the privileges and immunities of the

Tribe, including immunity from suit. However, Think Finance argues that it is entitled to

limited discovery from MobiLoans because the information “would be helpful to Think

Finance’s defense against the Pennsylvania Attorney General’s allegations.” Doc. 4 at p.

2. Think Finance argues that the subpoena should be enforced because MobiLoans is not

subject to a suit which would trigger sovereign immunity protection. Think Finance also

argues that the court should apply a balancing test and conclude that Think Finance’s right

to prepare a defense and obtain evidence substantially outweighs MobiLoans arguments in

favor of the application of sovereign immunity.

        The court finds that Think Finance’s arguments and authorities in support of

enforcing the subpoena are unpersuasive. “Indian tribes have long been recognized as

possessing the common-law immunity from suit traditionally enjoyed by sovereign

powers.” Santa Clara Pueblo v. Martinez, 436 U.S. 49, 58 (1978). “As a matter of federal

                                        Page 2 of 3
 
    Case 1:18-mc-00024-MLH Document 8 Filed 08/08/18 Page 3 of 3 PageID #: 107



law, an Indian tribe is subject to suit only where Congress has authorized the suit or the

tribe has waived its immunity.” Kiowa Tribe of Okla. v. Mfg. Techs., Inc., 523 U.S. 751,

754 (1998). Abrogation or waiver “cannot be implied but must be unequivocally

expressed.” Santa Clara Pueblo, supra at 58.

        Tribal sovereign immunity encompasses immunity from suits arising from a tribe’s

commercial activities, even when they take place off of Indian lands. Kiowa Tribe, supra.

Congress has never abrogated tribal immunity for suits arising from tribal lending activity,

and there is no evidence that the Tribe has waived its immunity from suit. Howard v. Plain

Green, LLC, 2017 WL 3669096 (E.D. Va. 2017). The Tribe’s immunity from suit also

extends to third-party subpoenas, such as the deposition subpoena served on MobiLoans.

AllTel Communications v. DeJordy, 675 F.3d 1100 (8th Cir. 2012); Bonnet v. Harvest

Holdings, 741 F.3d 1155 (10th Cir. 2014).

        Sovereign immunity deprives a court of jurisdiction. Warnock v. Pecos County,

Tex., 88 F.3d 341 (5th Cir. 1996). Therefore, this court lacks jurisdiction to enforce the

deposition subpoena, and Think Finance’s proposed balancing test cannot overcome this

lack of jurisdiction. Accordingly, the Motion to Quash Subpoena (Doc. 1) is granted.

        THUS DONE AND SIGNED in Shreveport, Louisiana, this 8th day of August,

2018.




                                        Page 3 of 3
 
